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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

UNITED STATES OF AMERICA,                         §
                                                  §
v.                                                §           No. 3:15-CR-221-O(1)
                                                  §
RANDY DEWAYNE PITTMAN,                            §
         Defendant.                               §

                          MEMORANDUM OPINION AND ORDER

        Before the Court is Defendant Randy Dewayne Pittman’s (“Pittman”) Motion to Reduce

Sentence and/or Terminate Term of Supervised Release 18 U.S.C. § 3582, received on March 27,

2020. ECF No. 113. After considering the motion and the relief sought by Pittman, the Court

denies the motion.

                                     I.     BACKGROUND

        On November 4, 2015, Pittman pled guilty to one count of felon in possession of a firearm,

in violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(2). See ECF Nos. 36, 88. He was sentenced to

51 months’ imprisonment, to be followed by a three-year term of supervised release. See ECF No.

88. His conviction and sentence were affirmed by the United States Court of Appeals for the Fifth

Circuit (“Fifth Circuit”). See ECF Nos. 96, 97.

        On April 3, 2018, while still serving his sentence of imprisonment, Pittman filed a motion

for relocation of his supervised release from the Northern District of Texas to the Northern District

of Georgia. See ECF No. 92. The Court denied the motion because it was premature. See ECF

No. 93. The United States Probation Office (“USPO”) subsequently approved the Northern

District of Alabama for the location of Pittman’s supervised release, and on June 4 and June 11,

2019, Pittman filed two motions seeking to relocate his supervised release to the Northern District

of Georgia. See ECF Nos. 106, 108. A hearing on Pittman’s motions was held on June 24, 2019,
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during which Pittman voluntarily withdrew his request to transfer the location of his supervised

release to the Northern District of Georgia. See ECF No. 111.

           In his current motion, Pittman requests the termination of the remainder of his term of

supervised release under 18 U.S.C. § 3582 so that he may immediately relocate to the Northern

District of Georgia to exercise his child custody rights. See ECF No. 113. The government did

not file a response.

                                                 II.       ANALYSIS

           A district court does not have inherent authority to modify a defendant’s sentence after it

has been imposed. See 18 U.S.C. § 3582(c). However, the “Sentencing Reform Act of 1984

modified existing sentencing standards to allow federal courts to reduce defendants’ sentences for

‘extraordinary and compelling reasons,’ a process often referred to as ‘compassionate release.’”

United States v. Ennis, No. EP-02-CR-1430-PRM-1, 2020 WL 2513109, at *4 (W.D. Tex. May

14, 2020). The compassionate release provision is set forth in § 3582(c)(1)(A).1 The Fifth Circuit,

addressing the scope of related subsection § 3582(c)(2), recognized that § 3582(c)(2) “only


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    Section 3582(c)(1)(A) provides, in relevant part:

                (A) the court, upon motion of the Director of the Bureau of Prisons, or upon motion of the
                    defendant after the defendant has fully exhausted all administrative rights to appeal a
                    failure of the Bureau of Prisons to bring a motion on the defendant’s behalf or the lapse of
                    30 days from the receipt of such a request by the warden of the defendant’s facility,
                    whichever is earlier, may reduce the term of imprisonment (and may impose a term of
                    probation or supervised release with or without conditions that does not exceed the
                    unserved portion of the original term of imprisonment), after considering the factors set
                    forth in section 3553(a) to the extent that they are applicable, if it finds that—

                    (i) extraordinary and compelling reasons warrant such a reduction; or

                   (ii) the defendant is at least 70 years of age, has served at least 30 years in prison, pursuant
                        to a sentence imposed under section 3559(c), for the offense or offenses for which the
                        defendant is currently imprisoned, and a determination has been made by the Director
                        of the Bureau of Prisons that the defendant is not a danger to the safety of any other
                        person or the community, as provided under section 3142(g);

                    and that such a reduction is consistent with applicable policy statements issued by the Sentencing
                    Commission[.]

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provides for the modification of a term of imprisonment, not supervised release.” United States v.

Boston, 419 F. App’x 505, 506 (5th Cir. 2011) (per curiam). Applying the reasoning of Boston

here, the express terms of § 3582(c)(1)(A) provide only for a reduction of a term of imprisonment,

and not for a reduction of a term of supervised release. See id.; 18 U.S.C. § 3582(c)(1)(A).

Because Pittman is no longer serving a term of imprisonment, he is not entitled to compassionate

release under § 3582(c)(1)(A) and his motion is denied.

       Pittman’s motion is also denied to the extent it can be liberally construed as a motion

requesting early termination of supervised release under 18 U.S.C. § 3583(e)(1). See United States

v. Booker, 645 F.3d 328, 328 (5th Cir. 2011) (per curiam) (“Any termination of supervised release

must be sought by a motion under 18 U.S.C. § 3583(e)(1).”) Under § 3583(e)(1), a court may,

after considering several factors set forth in 18 U.S.C. § 3553(a), “terminate a term of supervised

release and discharge the defendant released at any time after the expiration of one year of

supervised release, pursuant to the provisions of the Federal Rules of Criminal Procedure relating

to the modification of probation, if it is satisfied that such action is warranted by the conduct of

the defendant released and the interest of justice.” 18 U.S.C. § 3583(e)(1); see also United States

v. Johnson, 529 U.S. 53, 60 (2000). Section 3583(e)(1) “confers broad discretion” on the district

court. United States v. Jeanes, 150 F.3d 483, 484 (5th Cir. 1998). Where, as here, the relief sought

is favorable to the defendant and would not extend the term of his supervised release, and the

government has received notice of the request, has had a reasonable opportunity to object to the

request, and has declined to do so, a hearing is not required. See 18 U.S.C. § 3583(e)(1); Fed. R.

Crim. P. 32.1(c)(2); United States v. Hartman, No. 3:00-cr-228-B(01), 2013 WL 524257, at *2-3

(N.D. Tex. Jan. 18, 2013).




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         Here, Pittman argues that he is entitled to early termination of his supervised release

because: (1) the Social Security Administration has determined that he is permanently disabled

due to an incurable blood disease; (2) the USPO’s denial of his request to transfer the location of

his supervised release to the Northern District of Georgia was based on false allegations made to

the USPO by his ex-wife and her counsel; (3) he is compliant with the terms of his supervised

release as of March 22, 2020; (4) he is currently in a toxic environment residing at his mother’s

home and was previously told he could not move from his mother’s home or relocate to the

Northern District of Texas; (5) he served more than his federal sentence in custody2; and (6) he

was not provided with the opportunity to transition to a Residential Re-Entry Center prior to his

release from federal custody. See generally ECF No. 113.

         The reasons provided for early termination of supervised release do not demonstrate any

conduct by Pittman that would warrant early termination of supervised release; Pittman instead

seeks relief primarily based on his circumstances and the alleged conduct of others. See 18 U.S.C.

§ 3583(e)(1) (stating that the court must be satisfied that early termination is “warranted by the

conduct of the defendant.”) (emphasis added). Nor do Pittman’s proffered reasons demonstrate

“any exceptional circumstances to justify the Court’s exercise of its discretion to terminate his

supervised release early or any circumstances that render his term or conditions of release either

too harsh or inappropriately tailored to serve Section 3553(a)’s goals.” Hartman, 2013 WL

524257, at *3; see also United States v. Guidry, No. 3:19-cr-332-S, 2020 WL 908542, at *1 (N.D.

Tex. Feb. 13, 2020) (“Caselaw is also consistent in that early termination is discretionary and is

warranted only in cases where the defendant shows changed circumstances, such as exceptionally



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 Although Pittman claims he did not receive “due jail credit,” and “served more than his federal sentence in custody,”
he did not seek habeas corpus relief under 28 U.S.C. § 2241 for alleged time credit he was owed or to challenge the
Bureau of Prisons’ (“BOP”) calculation of his sentence. ECF No. 113 at 5.

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good behavior.”) (quoting United States v. Jones, Crim. A. No. V-11-21, 2013 WL 2417927, at *1

(S.D. Tex. June 4, 2013)). Neither his disability status due to a blood disease nor his disagreements

with the decisions of the USPO or BOP implicate the rehabilitation and reintegration purposes of

the § 3553(a) factors. Additionally, his conditions of supervised release do not preclude him from

changing his residence. See ECF No. 88 at 2-3. Pittman’s claim that he is compliant with the

terms of his supervised release, even if true, “establishes only that he has complied faithfully with

the conditions of his supervised release . . . which does not, by itself, justify early termination.”

Hartman, 2013 WL 524257, at *3. And, contrary to his claim of compliance, Pittman violated the

terms of his supervised release on June 19, 2019, when he was arrested by state authorities for

distribution of a controlled substance. See ECF No. 112.

       Given Pittman’s June 19, 2019 violation of the terms of his supervised release less than

one month after his release from federal custody, his criminal history as set forth in the presentence

investigation report, and the lack of exceptional or changed circumstances to warrant early

termination of supervised release, the Court finds that Pittman’s term of supervised release shall

remain in effect in the interest of justice, considering § 3553(a) factors for deterrence of future

criminal conduct and the safety of the community. Accordingly, Pittman’s motion, liberally

construed under § 3583(e)(1), is denied.

                                      III.    CONCLUSION

       Pittman’s Motion to Reduce Sentence and/or Terminate Term of Supervised Release 18

U.S.C. § 3582 is DENIED.

       SO ORDERED this 9th day of November, 2020.


                                                      _____________________________________
                                                      Reed O’Connor
                                                      UNITED STATES DISTRICT JUDGE

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